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International
GLOBAL CLAIMS SERVICE

YI MecLarens Young

10235 W. Little York Street Suite 170
Houston, TX 77040-3253
Tal 713 856-9227

Fax 713 856-9228
October 27, 2009

Mr. John Siffert

Mr. Scott Ray

Aker Kvaerner/IHI

Cameron LNG Receiving Terminal
Cameron Parish, Louisiana

Re: insured: Sempra Energy and other Named Insureds

Policy Nos:.: National Union Fire Ins. Co. of Louisiana— ST-260-9712
AEGIS Ins. Services, Ltd — LO022B1A05
Allianz Global Risks US ins. Co. - ATO 3006580
Commonwealth ins. Co. - NME1128
Navigators Special Risk, Inc. ~ 05-NSRO-1045-01
Arch Specialty ins. Co. - CAR0009987-00

Policy Period: 9/45/2005 — 12/16/2008

Loss: Hurricane lke- CAT#60

Loss Location: Hackberry, LA

Date of Loss: 09/43/2008

MY! File No. 07.003119.MI
Gentiemen:

In follow-up to our meeting at the offices of Aker Solutions on October 13, 2009, attended by
John Siffert, Scott Ray, Nrupa Shah and myself, we have been requested by Insurers to advise
you in writing of their present position with regard to the following matters arising out of the
Hurricane ike insurance ciaim.

Unallocated Advance Payment

At the meeting, we discussed the $6,000,000.00 unallocated advance payment by Insurers and
the delivery of the Proof of Loss for the payment. We delivered a copy of the Proof of Loss to
AK\IH] and Sempra on Tuesday, October 20, 2009. Once we receive the signed copies from all
parties, we would expect Insurers to issue separate payments based upon their respective
percentage of the risk. Since AKIIHI is now assigned Loss Payee, please provide payment
details, including the address and to whose attention the checks should be mailed and/or
detailed wire transfer instructions.

Dredaing Analysis by Insurers’ Hydrology Consultant
We also discussed the ongoing analysis of the portion of the claim related to dredging which is
currently under review by Christopher Burke Engineering, Ltd. We are pushing for this review to

be completed within the next month, and will update you on this aspect of the claim when this
review is complete.

EXHIBIT

i ( S www.mclarensyoung.com

 

 
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Insured: Sempra Eneray Page No. 2 MYI File No, 07.003119.MI

With regard to this claim, please be advised that the Policy provides the following definition of
Occurrence: .

1. Occurrence

Wherever the word occurrence appears in this Policy it shall mean any
occurrence or series of occurrences consequent upon or attributable to one (1)
source or original cause.

It is agreed that all Damage to the Insured Property occurring during any one (1)
period of seventy-two (72) consecutive hours during the Period of Insurance
directly caused by named windstorm, tempest, flood, or earth movement shall be
deemed to have been caused by a single occurrence and therefore constitute
one (1) loss for the purposes of this Policy.

The Insured shall select the time from which any such period shall commence
but no two (2) such selected periods shall overlap. Whichever period of seventy-
two (72) consecutive hours is used for the purposes of this clause shall also be
used for the purposes of any Deductible provisions applicable to this Section of
the Policy.

The 72 hour clause, as noted above, applies to Damage to insured Property caused by named
windstorm occurring during any one period of 72 consecutive hours, and should be considered
in connection with the dredging claim that allegedly resulted in whole or in part from silting that

curred over a period of months. It does not appear from the present dredging claim
ubmission that this clause has been taken into account. In any event, the adjustment will be
conducted in accordance with the provisions of this clause.

Insurers have also requested that | bring to your attention the parts of the claim submission
. related to dredging that include extensions of the dredge disposal pipeline lease and attorneys’

fees related to these extensions. These lease extensions and resulting attorneys’ fees, BCS
Ref. Nos. 3A, 3B, and 3C, appear to be consequential losses not covered by the Policy. After
we receive Mr. Burke's analysis, we will update you regarding Insurers’ position on these items
and the remaining portion of the claim submission related to dredging.

Portions of Claim Not Covered by the Policy

At the meeting, we provided you with a flash drive containing the Preliminary Schedules
compiled by Insurers’ accounting consultants, Buchanan Clarke Schlader, LLP (BCS), and we
discussed how the spreadsheet worked and how to navigate through the links to supporting
documentation.

We also discussed Insurers’ current position specifically related to the category within the
spreadsheet, “Appears to be Consequential Loss/Delay.” With respect to those specific items,
we wish to make the following clarifications:

1. All claim submissions related to dredging have been provided to insurers’
hydrology consultant for review. BCS Ref. Nos. 3A, 3B, and 3C, totaling $33,943.50, will be
addressed upon conclusion of the dredging analysis as discussed above.
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Insured’ Sehniora neray Page No. 3 MY1 File No. 07.003119.MI

2. BCS Ref. No. 27A, totaling $15,760.00, is for equipment rental extension from
Andrews and Foster Drilling Company. The extension iS @ consequential loss which is not
covered by the Policy. However, the expense associated with rental of this equipment for the
period of time that AK|IHI actually used the pumps during the clean-up operations, as explained

AK|IHI actually used the pumps during the clean-up operations, as explained in your letter
AK|IHI-TP-0078 dated August 28, 2009, is a covered expense. Therefore, please provide
documentation for this expense for the period of time directly related to clean-up of the physical
damage caused by Hurricane Ike.

4. BCS Ref. Nos. 591 and 59Q were omitted from your Response to Request No. 28
on page 14 of your letter AK/IHI-TP-0085 dated September 15, 2009. This appears to simply be
a clerical error. Please confirm that the explanation of these two line items is the same as 59A-
59H, ete.

As Insurers have previously advised, the Policy does not provide coverage for delay in
completion or delay in start-up, soft costs, or any other time element coverags, Dut instead is
limited to direct physical Gamage only, except for the 14 specific extensions set forth in the
Policy. The Policy provides: “This insurance will pay for the cost of repiacing or repairing or
making good the Insured Property or any part thereof while at the Project Site physically lost,
physically destroyed or physically Damaged in any direct manner and by any cause whatsoever
not herein excluded.” The Policy defines damage as: “Damage shall mean physical damage,
physical loss or physical destruction.” In addition, the Policy expressly excludes from coverage
“Any loss of use or any other consequential loss.”

After review of the claim submissions made to Gate, it is Insurers’ current position that the
following portions of the claim as submitted, and as indicated in the subsequent additional
explanations provided by AK/IHI, are items of consequential loss and are therefore not covered
by the Policy:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BCS Ref. No. | Change Order | Amount
10A 258 $51,618.41
27A 221 $15,760.00
36A 261 $ 3,926.00
36C 276 $12,523.03
42E 221 $118,331.97
42H 231 $79,500.81
42K 235 $1,324,960.54
42N 252 $1,439,189.33
| 420 265 $1,457,539.46
| 42T | 271 | $358,531.24
| 42Y 274 | $1,477.906.57
43A 287 | $336,426.45
48A 270 | $890,556.39

 

 

 
 

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As mentioned above, this list does not include BCS Ref. Nos. 3A

 

 

 

 

 

 

 

Insured: Sempra Energy Page No. 4 MY1 File No, 07.003119.MI
49A 257 $1,049 569.74
53A 221 $1,129,020.47
53B 231 $1,402,858.26
53C 237 $945,978.36
53D 251 $1,114,592.94
53E 266 $818,596.32
53F 272 $308,628.14
53G 275 $46,521.00
53H 289 $3,294.49
55A 284 $1,881 ,500.15
57A 283 $1,757,510.44
59A 285 $192.87
59B 285 $32,203.58
59C - 285 $26,444.63
59D 285 $2,269.00
59E 285 $87,700.95
59F 285 $51,815.16
59G 285 $771.46
59H 285 $75,890.71
59] 285 $63,314.25
59J 285 ] $1,074.03
59K 285 $68.269.58
59. 285 $52,522.33
59M 285 $1,139.25
59N 285 $76,237.45
590 285 $44,918.36
59P 285 $661.50
59Q 285 $20,579.22
59R 285 $10,060.59
59S 285 $298.25
59T 285 $15,420.81
59U 285 $13,488.80
59V 285 $19,720.08
5OoW 285 $25,279.74
59X 285 33,658.84

Total items $18,718,771.92
12% markup $2,246,252.60
Total $20,965,024.52

 

 

 

expenses related to dredging which are addressed above.

, 3B, and 3C or any other

The Insurers have further requested that we advise that if you have any further information or
documentation that you wish for them to consider in connection with the positions set forth

herein, please provide such information to us and

consideration and response.

 

 

it will be forwarded to them for prompt
 

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Insured: Sempra Eneray Page No. 5 MY1 File No. 07.003119.MI

Finally, we acknowledge receipt of a complete and unredacted copy of the settlement
agreement between Sempra Energy, CLNG and AKIIHI. As requested, we and the Insurers will
treat the agreement as confidential and act accordingly.

Neither this correspondence nor the ongoing investigation and adjustment of the claim
presented waives any rights of the Insurers under the Policies, at law, in equity, or otherwise, all
such rights continuing to be expressly reserved.

Sincerely,

Greg Presswood

McLarens Young International
Executive General Adjuster

Vice President / Branch Manager
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cc: interested Insurers
Mr, Maury De Bont, Sempra Energy
Mr. Mike Moreno, Sempra Energy
Mr. Doug Shockley, Willis

 
